     Case: 1:23-cv-04410 Document #: 50 Filed: 11/06/23 Page 1 of 2 PageID #:2618



                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

DORNA SPORTS, S.L.,                                                 )
                                                                    )
                                                                    )   Case No. 23-cv-4410
                Plaintiff,                                          )
                                                                    )
                                                                    )   Judge John F. Kness
v.                                                                  )
                                                                    )
THE INDIVIDUALS, CORPORATIONS,                                      )
LIMITED LIABILITY COMPANIES,                                        )
PARTNERSHIPS AND UNINCORPORATED                                     )
ASSOCIATIONS IDENTIFIED                                             )
ON SCHEDULE A HERETO,                                               )
                                                                    )
                Defendants.                                         )

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO DEFENDANTS NO. 38, 203

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff DORNA SPORTS,
S.L. hereby dismisses with prejudice all causes of action in the complaint as to the Defendants identified
below and in Schedule A. No motions are pending relative to these Defendants. Each party shall bear its
own attorney’s fees and costs.

        No.     Defendant
        38      authentique-japan-goods
        203     Mt.Fuji shop

        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.


                                          Respectfully submitted,
Dated: November 06, 2023                  By:     s/Michael A. Hierl             _
                                                  Michael A. Hierl (Bar No. 3128021)
                                                  William B. Kalbac (Bar No. 6301771)
                                                  Robert P. McMurray (Bar No. 6324332)
                                                  Hughes Socol Piers Resnick & Dym, Ltd.
                                                  Three First National Plaza
                                                  70 W. Madison Street, Suite 4000
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                                                  Attorneys for Plaintiff
                                                  DORNA SPORTS, S.L.
    Case: 1:23-cv-04410 Document #: 50 Filed: 11/06/23 Page 2 of 2 PageID #:2619




                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on November 06, 2023.



                                                           s/Michael A. Hierl
